UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

 

UNITED STATES OF AMERICA,

Plaintiff, Case No. 19CR.
* | [21 U.S.C. §§ 841(a) (1) and
(b)1)(©)]
" NICHOLAS J. STEBER, | Green Bay Division = __
| Defendant. 1 9 - CR ™ 1 8 2

 

INDICTMENT

 

THE GRAND JURY CHARGES THAT:
On or about September 18, 2017, in the State and Eastern District of Wisconsin and
elsewhere,
NICHOLAS J. STEBER
knowingly and intentionally distributed a mixture and substance containing heroin, a Schedule I
controlled substance.
In violation of Title 21, United States Code, Sections 841 (a)(1) and (b)(1)(C).

BILL:

     
    

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“(MATTHEW D. KRUEGER
United: States Attorney

 

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